         Case 1:16-cr-10320-GAO Document 797 Filed 08/27/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
UNITED STATES OF AMERICA,           )
      Plaintiff,                    )
                                    )
v.                                  )                 Docket Number: 16-CR-10320-GAO
                                    )
JORGE GRANDON,                      )
      Defendant.                    )
____________________________________)

  DEFENDANT’S WITHDRAWAL OF MOTION FOR COMPASSIONATE RELEASE

       The defendant hereby withdraws his EMERGENCY MOTION FOR

COMPASSIONATE RELEASE UNDER 18 U.S.C. § 3582(c)(1)(A) (Doc. 731). The defendant

was attempting to find housing acceptable to probation to allow early release from custody, but

learned that ICE had lodged an immigration detainer with his current institution. As a result, if

Mr. Grandon were granted compassionate release he would be released to the detainer rather

than to housing.

                                                      Respectfully submitted,
                                                      By his attorneys,

                                                      /s/ David Duncan
                                                      David Duncan (546121)
                                                      Ruth O’Meara-Costello (667566)
                                                      Zalkind Duncan & Bernstein LLP
                                                      65a Atlantic Avenue
                                                      Boston, MA 02110
                                                      (617) 742-6020
Dated: August 27, 2020


                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).



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Case 1:16-cr-10320-GAO Document 797 Filed 08/27/20 Page 2 of 2




                                  /s/ David Duncan




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